Case 2:04-cr-20451-BBD Document 25 Filed 07/08/05 Page 1 of 2 PagelD 22

 

IN THE uNlTED sTATEs DlsTRlcT CouRT amc BvZQ/.,... D.O.
FOR THE WETF§§PE|§|SBF|&\l/c|;r|g; TENNESSEE 05 JuL __8 PH w ‘2
mht-GOULD
uNlTED sTA'rEs oF AMERch ' w_OF U_S. RQTF¢`MJMCUBT
Plaintiff
Vs.
cR. No. 04-20451-0
Qulch l_lGoN
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the July 5, 2005 trial date and requested a Change
of Plea hearing date.

The Court granted the request and reset the trial date to August 1, 2005 with a

Change of Plea hearing date of Tuesda}[l July12, 2005, at 4:§_0_p.m., in Courtroom 3.
9th Floor of the Federal Building, N|emphis, TN.

 

The period from July 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends of justice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

lT ls so oRDEREo this X“"day of July, 2005.

 

N|TED STATES D|STRlCT JUDGE

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uNlTED sATE DISTRICT COURT - W"'RNT DISTRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CR-20451 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

